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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

IMPINJ, INC.,                                  §
                                               §
                       Plaintiff/              §
                       Counterclaim Defendant, §
          v.                                   § CIVIL ACTION No. 6:21-cv-00530-ADA
                                               §
NXP USA, INC.,                                 §
                                               §
                       Defendant/
                                               §
                       Counterclaim Plaintiff.
                                               §

                 JOINT STIPULATION REGARDING CASE NARROWING

          Plaintiff/Counterclaim Defendant Impinj, Inc. (“Impinj”) and Defendant/Counterclaim

Plaintiff NXP USA, Inc. (“NXP”) met and conferred pursuant to the Agreed Amended

Scheduling Order (Dkt. 104), and the parties hereby stipulate and agree to the following case

narrowing procedures in anticipation of the three (3) trials contemplated by the Court in this

matter:

    On or before December 1, 2022, Impinj and NXP shall each disclose a maximum of sixty

(60) asserted claims across all nine of their respective asserted patents;

    On or before March 21, 2023, Impinj and NXP shall each disclose its three

(3) preferred patents to be asserted in each of the three trials and shall further reduce the number

of asserted claims to a maximum of ten (10) claims per three patent trial; and

    On or before April 4, 2023, Impinj and NXP shall each reduce the number of prior art

references/combinations to a maximum of ten (10) per three patent trial.




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Dated: September 29, 2022                    Respectfully Submitted,


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                                    CERTFICIATE OF SERVICE

        The undersigned hereby certifies that on September 29, 2022, all counsel of record who

are deemed to have consented to electronic service are being served with a copy of this document

via electronic mail.


                                                     /s/ G. Blake Thompson
                                                   G. Blake Thompson




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